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This document has been electronically entered in the records of the United
States Bankruptcy Court for the Southern District of Ohio.


IT IS SO ORDERED.



Dated: October 18, 2018



________________________________________________________________

                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF OHIO
                                 EASTERN DIVISION
In Re:     WILLIAM E WILLIAMS, JR.               :       Case No. 18-53671

                                                 :       Chapter 13
                          Debtor(s)              :       Judge John E. Hoffman Jr.




         ORDER DENYING CONFIRMATION AND DISMISSING CASE (Doc. 17)
         The matter before the Court is the proposed confirmation of the Debtor(s)’ plan and the

Objection to Confirmation filed by the Trustee. The Court finds that the plan is not in posture

for confirmation; therefore, the Court hereby denies confirmation and dismisses the Chapter 13

case pursuant to 11 U.S.C. §1307(c).

         The Court retains jurisdiction pursuant to 11 U.S.C. §349 to consider administrative

matters only, including the allowance of administrative fees and expenses, the disbursement of

adequate protection payments pursuant to 11 U.S.C. §1326, and the closing of the case. Any
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applications for the allowance of administrative expenses, including attorneys and appraisal fees,

must be filed within fourteen (14) days of this date.

       IT IS SO ORDERED.

Copies to:

ALL CREDITORS AND PARTIES IN INTEREST

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